     Case 5:20-cv-01056-PA-SHK Document 66 Filed 10/19/20 Page 1 of 7 Page ID #:1204




1     JOHN B. BULGOZDY (Cal. Bar No. 219897)                                JS-6
      Email: bulgozdyj@sec.gov
2     DAVID S. BROWN (Cal. Bar No. 134569)
      Email: browndav@sec.gov
3
      Attorneys for Plaintiff
4     Securities and Exchange Commission
      Michele Wein Layne, Regional Director
5     Alka N. Patel, Associate Regional Director
      Amy J. Longo, Regional Trial Counsel
6     444 S. Flower Street, Suite 900
      Los Angeles, California 90071
7     Telephone: (323) 965-3998
      Facsimile: (213) 443-1904
8
9                           UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
                                      Western Division
12
13      SECURITIES AND EXCHANGE                       Case No. 2:20-cv-01056-PA-SHK
14      COMMISSION,
                                                   FINAL JUDGMENT AS TO
                    Plaintiff,                     DEFENDANTS PAUL HORTON
15                                                 SMITH, SR.; NORTHSTAR
                                                   COMMUNICATIONS, LLC;
16            vs.                                  PLANNING SERVICES, INC.; AND
                                                   EGATE, LLC
17      PAUL HORTON SMITH, SR.;
18      NORTHSTAR COMMUNICATIONS,
        LLC; PLANNING SERVICES, INC.;
19      AND EGATE, LLC,
20                  Defendants.
21
22
23
24
25
26
27
28
     Case 5:20-cv-01056-PA-SHK Document 66 Filed 10/19/20 Page 2 of 7 Page ID #:1205




1            This matter came before the Court on plaintiff Securities and Exchange
2     Commission’s (“SEC”) Motion for Default Judgment against Defendants Paul Horton
3     Smith, Sr. (“Smith”); Northstar Communications, LLC (“Northstar”); Planning
4     Services, Inc. (“Planning Services”); and eGate, LLC (“eGate”) (collectively,
5     “Defendants”), pursuant to Fed. R. Civ. P. 55(b). The Court, having considered all of
6     the evidence and arguments presented by the parties with regard to the SEC’s Motion
7     for Default Judgment, the Memorandum of Points and Authorities and the other
8     documents filed in support of the Motion for Default Judgment, and the record in this
9     action, finds that:
10                                                I.
11           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the SEC’s
12    Motion for Default Judgment against Defendants is GRANTED.
13                                                II.
14           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants
15    Smith, Northstar, Planning Services, and eGate, and their officers, agents, servants,
16    employees, attorneys, subsidiaries and affiliates, and those persons in active concert
17    or participation with any of them, who receive actual notice of this Final Judgment,
18    by personal service or otherwise, and each of them, be and hereby are permanently
19    enjoined from, directly or indirectly, in the offer or sale of any securities, by the use
20    of any means or instruments of transportation or communication in interstate
21    commerce or by the use of the mails:
22           A.     employing any device, scheme or artifice to defraud;
23           B.     obtaining money or property by means of any untrue statement of a
24                  material fact or any omission to state a material fact necessary in order to
25                  make the statements made, in light of the circumstances under which
26                  they were made, not misleading; or
27           C.     engaging in any transaction, practice, or course of business which
28                  operates or would operate as a fraud or deceit upon the purchaser;

                                                        1
     Case 5:20-cv-01056-PA-SHK Document 66 Filed 10/19/20 Page 3 of 7 Page ID #:1206




1     in violation of Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a).
2           IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil
3     Procedure 65(d)(2), the foregoing paragraph also binds the following who receive
4     actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’
5     officers, agents, servants, employees, and attorneys; and (b) other persons in active
6     concert or participation with any of the Defendants or with anyone described in (a).
7                                               III.
8           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants
9     Smith, Northstar, Planning Services, and eGate, and their officers, agents, servants,
10    employees, attorneys, subsidiaries and affiliates, and those persons in active concert
11    or participation with any of them, who receive actual notice of this Final Judgment,
12    by personal service or otherwise, and each of them, be and hereby are permanently
13    enjoined from, directly or indirectly, in connection with the purchase or sale of any
14    security, by the use of any means or instrumentality of interstate commerce, or of the
15    mails, or of any facility of any national securities exchange:
16          A.     employing any device, scheme or artifice to defraud;
17          B.     making any untrue statement of a material fact or omitting to state a
18                 material fact necessary in order to make the statements made, in the light
19                 of the circumstances under which they were made, not misleading; or
20          C.     engaging in any act, practice, or course of business which operates or
21                 would operate as a fraud or deceit upon any person;
22    in violation of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5
23    thereunder, 17 C.F.R. § 240.10b-5.
24          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil
25    Procedure 65(d)(2), the foregoing paragraph also binds the following who receive
26    actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’
27    officers, agents, servants, employees, and attorneys; and (b) other persons in active
28    concert or participation with any of the Defendants or with anyone described in (a).

                                                       2
     Case 5:20-cv-01056-PA-SHK Document 66 Filed 10/19/20 Page 4 of 7 Page ID #:1207




1                                                IV.
2           IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants
3     Smith and eGate, and their officers, agents, servants, employees, attorneys,
4     subsidiaries and affiliates, and those persons in active concert or participation with
5     any of them, who receive actual notice of this Final Judgment, by personal service or
6     otherwise, and each of them, be and hereby are permanently enjoined from
7           A.      employing any device, scheme or artifice to defraud any client or
8                   prospective client; and
9           B.      engaging in any transaction, practice, or course of business which
10                  operates or would operate as a fraud or deceit upon any client or
11                  prospective client;
12    in violation of Sections 206(1) and 206(2) of the Advisers Act, 15 U.S.C. §§ 80b-6(1)
13    & 80b-6(2).
14          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil
15    Procedure 65(d)(2), the foregoing paragraph also binds the following who receive
16    actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’
17    officers, agents, servants, employees, and attorneys; and (b) other persons in active
18    concert or participation with any of the Defendants or with anyone described in (a).
19                                               V.
20          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants
21    Smith, Northstar, Planning Services, and eGate, jointly and severally, are ordered to
22    pay disgorgement of $4,238,400.50, representing net profits gained as a result of the
23    conduct alleged in the Complaint, together with prejudgment interest thereon in the
24    amount of $383,059.00, for a total judgment of $4,621,459.50, which shall be offset
25    in an amount equal to any order of restitution that may be entered in U.S. v. Paul
26    Horton Smith, Sr., Case No. 5:20-cr-00120-JGB (C.D. Cal.).
27          Defendant Smith is ordered to pay a civil penalty in the amount of
28    $4,238,400.50, pursuant to Section 21(d)(3) of the Exchange Act, 15 U.S.C. §

                                                       3
     Case 5:20-cv-01056-PA-SHK Document 66 Filed 10/19/20 Page 5 of 7 Page ID #:1208




1     78u(d)(3), Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d)j, and Section
2     209(e)(1) of the Advisers Act, 15 U.S.C. § 80b-9(e)(1).
3           Defendants Smith, Northstar, Planning Services, and eGate shall satisfy this
4     obligation by paying $8,859,860.00 to the Securities and Exchange Commission
5     within 30 days after entry of this Final Judgment.
6           Defendants may transmit payment electronically to the Commission, which
7     will provide detailed ACH transfer/Fedwire instructions upon request. Payment may
8     also be made directly from a bank account via Pay.gov through the SEC website at
9     http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by certified
10    check, bank cashier’s check, or United States postal money order payable to the
11    Securities and Exchange Commission, which shall be delivered or mailed to
12          Enterprise Services Center
            Accounts Receivable Branch
13          6500 South MacArthur Boulevard
            Oklahoma City, OK 73169
14
      and shall be accompanied by a letter identifying the case title, civil action number,
15
      and name of this Court; Defendants Smith, Northstar, Planning Services, and eGate
16
      as the defendants in this action; and specifying that payment is made pursuant to this
17
      Final Judgment.
18
            Defendants shall simultaneously transmit photocopies of evidence of payment
19
      and case identifying information to the SEC’s counsel in this action. By making this
20
      payment, Defendants relinquish all legal and equitable right, title, and interest in such
21
      funds and no part of the funds shall be returned to Defendants.
22
            The SEC may enforce the Court’s judgment for disgorgement and prejudgment
23
      interest by moving for civil contempt (and/or through other collection procedures
24
      authorized by law) at any time after 30 days following entry of this Final Judgment.
25
      Defendants shall pay post judgment interest on any delinquent amounts pursuant to
26
      28 U.S.C. § 1961. The SEC shall hold the funds, together with any interest and
27
      income earned thereon (collectively, the “Fund”), pending further order of the Court.
28

                                                     4
     Case 5:20-cv-01056-PA-SHK Document 66 Filed 10/19/20 Page 6 of 7 Page ID #:1209




1           The SEC may propose a plan to distribute the Fund subject to the Court’s
2     approval. Such a plan may provide that the Fund shall be distributed pursuant to the
3     Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The
4     Court shall retain jurisdiction over the administration of any distribution of the Fund.
5     If the SEC staff determines that the Fund will not be distributed, the Commission
6     shall send the funds paid pursuant to this Final Judgment to the United States
7     Treasury.
8           Regardless of whether any such Fair Fund distribution is made, amounts
9     ordered to be paid as civil penalties pursuant to this Judgment shall be treated as
10    penalties paid to the government for all purposes, including all tax purposes. To
11    preserve the deterrent effect of the civil penalty, Defendant Smith shall not, after
12    offset or reduction of any award of compensatory damages in any Related Investor
13    Action based on Defendant’s payment of disgorgement in this action, argue that he is
14    entitled to, nor shall he further benefit by, offset or reduction of such compensatory
15    damages award by the amount of any part of Defendant’s payment of a civil penalty
16    in this action (“Penalty Offset”). If the court in any Related Investor Action grants
17    such a Penalty Offset, Defendant shall, within 30 days after entry of a final order
18    granting the Penalty Offset, notify the SEC’s counsel in this action and pay the
19    amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as the
20    SEC directs. Such a payment shall not be deemed an additional civil penalty and
21    shall not be deemed to change the amount of the civil penalty imposed in this
22    Judgment. For purposes of this paragraph, a “Related Investor Action” means a
23    private damages action brought against Defendant by or on behalf of one or more
24    investors based on substantially the same facts as alleged in the Complaint in this
25    action.
26
27
28

                                                     5
     Case 5:20-cv-01056-PA-SHK Document 66 Filed 10/19/20 Page 7 of 7 Page ID #:1210




1                                                VI.
2           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the SEC
3     elected to forego its claims for monetary penalties against Defendants Northstar,
4     Planning Services, and eGate pursuant to Section 21(d)(3) of the Exchange Act, 15
5     U.S.C. § 78u(d)(3), Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d)j, and
6     Section 209(e)(1) of the Advisers Act, 15 U.S.C. § 80b-9(e)(1). Accordingly, the
7     claims for monetary penalties against Defendants Northstar, Planning Services, and
8     eGate claims are DISMISSED.
9                                                VII.
10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
11    shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
12    Final Judgment.
13                                              VIII.
14          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
15    Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith
16    and without further notice.
17
18    Dated: October 19, 2020
19
                                                         Percy Anderson
20                                               UNITED STATES DISTRICT JUDGE
21
22
23
24
25
26
27
28

                                                        6
